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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        UNITED STATES,
                                   7                                                       Case No. 17-cv-01431-JSC
                                                       Petitioner,
                                   8
                                                v.                                         JUDGMENT
                                   9
                                        COINBASE, INC., et al.,
                                  10
                                                       Respondents.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court, having granted in part and denied in part the Government’s petition to enforce

                                  14   the IRS summons by Order filed November 28, 2017, enters judgment in favor of Petitioner and

                                  15   against Respondents.

                                  16          Coinbase is ORDERED to produce the following documents for accounts with at least the

                                  17   equivalent of $20,000 in any one transaction type (buy, sell, send, or receive) in any one year

                                  18   during the 2013 to 2015 period:

                                  19                  (1) the taxpayer ID number,

                                  20                  (2) name,

                                  21                  (3) birth date,

                                  22                  (3) address,

                                  23                  (4) records of account activity including transaction logs or other records

                                  24                  identifying the date, amount, and type of transaction (purchase/sale/exchange), the

                                  25                  post transaction balance, and the names of counterparties to the transaction, and

                                  26                  (5) all periodic statements of account or invoices (or the equivalent).

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                                          Case 3:17-cv-01431-JSC Document 77 Filed 11/29/17 Page 2 of 2




                                   1         IT IS SO ORDERED.

                                   2   Dated: November 29, 2017

                                   3                                        ______________________________________
                                                                            JACQUELINE SCOTT CORLEY
                                   4                                        United States Magistrate Judge
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                                  12
Northern District of California
 United States District Court




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